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                   9                              UNITED STATES DISTRICT COURT

               10                                NORTHERN DISTRICT OF CALIFORNIA

               11                                        OAKLAND DIVISION

               12
                       IN RE APPLE IPHONE ANTITRUST              CASE NO. C 11-06714-YGR
               13      LITIGATION                                RELATED CASE NO. C 07-05152-JW
               14                                                DEFENDANT APPLE’S REPLY IN
                                                                 SUPPORT OF MOTION TO DISMISS
               15                                                PLAINTIFFS’ SECOND AMENDED
                                                                 COMPLAINT
               16
                                                                 Date:      November 5, 2013
               17                                                Time:      10:00 AM
               18                                                Place:     Courtroom 5, 2nd Floor

               19                                                The Honorable Yvonne Gonzalez Rogers

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                                                                             REPLY ISO MOTION TO DISMISS PLAINTIFFS’
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                   1   I.      INTRODUCTION

                   2            Plaintiffs were given leave to plead, if they could consistent with Rule 11, that they were

                   3   “direct purchasers” within the meaning of the antitrust laws because “iPhone consumers were

                   4   forced to pay Apple a 30% fee on top of the cost for the apps.” (Dkt. 108 at 19, emphasis in

                   5   original.) The essence of the Court’s decision was that if Plaintiffs could plead that Apple added

                   6   fees to prices for Apps set by developers, it would consider the legal sufficiency of that

                   7   contention. If, on the other hand, Plaintiffs continued to allege only that Apple’s fees to

                   8   developers were passed-through to consumers in the developer’s App prices, the complaint would

                   9   fail.

               10               Plaintiffs’ Opposition now acknowledges that their Second Amended Complaint (“SAC”

               11      or “Complaint”) does not use those words, but claims they use another “expression” that “mean[s]

               12      precisely the same thing.” (Dkt. 116 (“Opp.”) at 7.) That is not true. The particular allegation

               13      that Plaintiffs point to (SAC ¶ 41) illustrates the game Plaintiffs are playing. It states that “the

               14      prices for apps available in Apple’s App Store include the developers’ price plus Apple’s 30%

               15      mark-up.” It does not state—despite the Court’s express request for clarity on this point—that

               16      Apple’s so-called “mark-up” was added to the developer’s price. There is nothing about this

               17      phrasing nor the SAC’s other allegations (“an extra 30% for every app,” “Apple’s 30% fee,” and

               18      so on) that is different from the allegations in the complaint the Court deemed insufficient. There

               19      is no mystery why Plaintiffs won’t simply state “Apple adds 30% to the developer’s price”: they

               20      know it is not true. Under the Ninth Circuit’s In re ATM Fee decision, Plaintiffs are indirect

               21      purchasers without antitrust standing and the SAC should be dismissed with prejudice.

               22               Plaintiffs also have not met their burden of pleading a cognizable antitrust market or

               23      anticompetitive conduct, and the radical arguments they advance can and should be rejected

               24      now. Neither the Ninth Circuit’s Newcal decision nor the Supreme Court’s Kodak decision

               25      holds that a legally relevant aftermarket is created unless a company obtains a “contract”

               26      approving all of the features of its product or business models. To the contrary, the well-

               27      established rule is that if a consumer can “reasonably discover” the challenged aftermarket

               28      practices, the aftermarket is not the relevant antitrust market. And, contrary to Plaintiffs’
                                                                           1
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                   1   contention, it is Plaintiffs’ burden to plead the relevant market and thus to allege facts plausibly

                   2   suggesting that consumers could not reasonably discover the challenged practices. Unlike Apple

                   3   I, this case has nothing to do with aftermarket practices that were allegedly sprung on consumers

                   4   by surprise. Plaintiffs’ own Complaint acknowledges that developers are informed about the

                   5   challenged practices, and the nature of Apple’s allegedly “closed system” inherently reveals

                   6   itself because, as Plaintiffs assert, downloadable Apps are indeed only available through the App

                   7   Store. This is why the SAC never alleges that consumers could not “reasonably discover”

                   8   Apple’s practices. Plaintiffs have failed to plead a cognizable antitrust market.

                   9          Plaintiffs are similarly wrong in contending that Apple’s launch of what Plaintiffs call a

               10      “closed system” can constitute actionable anticompetitive conduct. As an initial matter,

               11      Plaintiffs’ claim that they “always have alleged that Apple designed the iPhone operating system

               12      as a closed system” is not correct. (Opp. at 21, emphasis in original.) Plaintiffs’ expert in

               13      Apple I testified that “Apple’s right to utilize a closed system of distribution for its programs and

               14      applications is not in dispute.” In re Apple & AT&TM Antitrust Litig., 07-05152, Dkt. 249-2, at

               15      6 n.4. As a result, Plaintiffs’ extensive reliance on Judge Ware’s decisions in the earlier case is

               16      misplaced.

               17             Plaintiffs’ new theory has no merit. If Plaintiffs’ theory were correct, then Gillette

               18      monopolizes aftermarkets for razor blades every time it launches a new razor that only accepts

               19      its own replacement blades; Nespresso would not be able to sell coffee machines that only accept

               20      Nespresso coffee pods; and so on. This is not the law. Products that fall within Plaintiffs’

               21      definition of “closed systems” are commonplace. As a general matter, the antitrust laws do not

               22      interfere with “closed systems.” The Ninth Circuit’s Tyco decision in particular makes clear that

               23      the antitrust laws do not compel manufacturers of new devices to make them compatible with

               24      products manufactured by others. Since the Complaint admits that the iPhone ecosystem is an

               25      improvement on prior technologies and has led to the creation of over 850,000 new products

               26      (Apps), Apple’s launch of what Plaintiffs call a “closed system” cannot constitute

               27      anticompetitive conduct.
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                   1   II.     THE OPPOSITION CONFIRMS THAT PLAINTIFFS ARE INDIRECT
                               PURCHASERS WHO LACK ANTITRUST STANDING UNDER ILLINOIS BRICK
                   2

                   3            Filtering through the Opposition’s invective, Plaintiffs make two arguments for why they
                   4   are not “indirect purchasers” under Illinois Brick. First, Plaintiffs argue that purchasing third-
                   5   party Apps directly through the App Store is enough to make them “direct purchasers.” Second,
                   6   Plaintiffs claim they have adequately alleged that Apple adds a separate 30% fee “on top of” the
                   7   App developer’s price. Plaintiffs are incorrect on both counts, and their Opposition confirms that
                   8   Plaintiffs are indirect purchasers under controlling law.
                   9            A.      Plaintiffs’ Argument That “Buying Directly From the Alleged Monopolist” Is
                                        Sufficient to Circumvent Illinois Brick Is Foreclosed By The Court’s Order
               10                       Dismissing Plaintiffs’ Previous Complaint And Is Contrary To Law
               11               Plaintiffs first assert that the Ninth Circuit’s “direct purchaser rule” turns solely on

               12      whether a plaintiff bought directly from the alleged wrongdoer. (Opp. at 1, 9; Pls.’ Proposed Or.,

               13      Dkt. 116-1, at 1.) Plaintiffs further claim that Judge Ware already so ruled, and that Apple now

               14      improperly seeks to overturn Judge Ware’s ruling. (Opp. at 9.)

               15               Plaintiffs are wrong. Plaintiffs tried both arguments in opposing Apple’s last motion to
               16      dismiss, using essentially identical statements and rhetoric—and failed. (See Dkt. 99 at 12.)1
               17      This Court did not accept either of the arguments, and instead dismissed Plaintiffs’ complaint.

               18      (Dkt. 108 at 19.) The Court’s Order follows In re ATM Fee Antitrust Litig., 686 F.3d 741 (9th

               19      Cir. 2012), in which the same literal construction of “direct” was advanced and rejected. The

               20      plaintiff class in In re ATM Fee was in privity with the bank defendants, no less than Plaintiffs

               21      1
                             Compare Plaintiffs’ December 2012 Opposition at 12:
               22             “As the Ninth Circuit has recently reiterated in the case that Apple itself relies upon,
                             the sine qua non for direct purchaser status is whether the plaintiff paid the alleged
               23            unlawful fee directly to the alleged wrongdoer. In re ATM Fee Antitrust Litig., 686
                             F.3d at 746, 751.… Under the Ninth Circuit’s straightforward standing test, because
               24
                             Plaintiffs paid the alleged unlawful price – here Apple’s 30% fee – directly to Apple
               25            (the alleged monopolist), they are direct purchasers and have standing to sue Apple
                             under Ninth Circuit jurisprudence.” (Dkt. 99 at 12, emphasis omitted.)
               26
                             “As Judge Ware recognized when he rejected Apple’s indirect purchaser argument in
               27            Apple I, Plaintiffs’ ‘analysis does not rest on an indirect purchaser model” but rather
                             on “sales of approved apps through [Apple’s] App Store.’” (Id., citation omitted.)
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                   1   here are in privity with Apple. But the Ninth Circuit held that it does not matter if “the theory of

                   2   recovery depends on pass-on damages”; if it does, the plaintiffs “run into the Illinois Brick wall.”

                   3   In re ATM Fee, 686 F.3d at 755-56. This Court recognized that the “analysis under Illinois Brick

                   4   centers on whether the allegedly unlawful fee was paid directly or through a pass-through.”

                   5   (Dkt. 108 at 19.) The Court understood that Plaintiffs were confusing an Apple fee to developers

                   6   that is reflected in or “passed through” via the developer’s price, versus a fee added by Apple to

                   7   the developer’s price. (Id. at 19-20.) Plaintiffs were allowed to file an amended complaint to

                   8   demonstrate that they were not making a claim based on “mark-up” or pass-through dynamics,

                   9   but instead based on something Apple did directly to the consumer, e.g., an Apple “fee on top of

               10      the cost of the app.” (Id. at 19.) The entire Illinois Brick doctrine turns on the Supreme Court’s

               11      unwillingness to permit inquiry into “[t]he intricacies of tracing the effect of [the alleged]

               12      overcharge on the [direct] purchaser’s prices, costs, sales, and profits[.]” Illinois Brick Co. v.

               13      Illinois, 431 U.S. 720, 744 (1977).2 The simplistic notion that Apple has a “direct” relationship

               14      with Plaintiffs does not even begin to solve this problem.

               15               Plaintiffs raise no legitimate argument for why the Court should reconsider this issue, and

               16      under the controlling law of this Circuit, it makes no difference that Apple collects the price for

               17      the App from the consumer on behalf of the developer.

               18               B.      Plaintiffs Have Failed To Allege That They Are Direct Purchasers, And
                                        Their Contrary Claims In Opposition Once Again Fail To Comport With
               19                       The Actual Allegations Of Their Complaint

               20               There is only one reason why Plaintiffs would argue again for a literal “direct purchaser”

               21
                       2
                           For that reason, Plaintiffs’ effort to dismiss Campos v. Ticketmaster Corp., 140 F.3d 1166 (8th
               22          Cir. 1998) as bad out-of-circuit law is without merit. (See Opp. at 9-11.) Campos is hardly the
                           only case to apply Illinois Brick when the plaintiffs purchased directly from the defendants. In
               23          re ATM Fee—a controlling Ninth Circuit case—does as well. And both come to that
                           conclusion because they follow the Supreme Court’s teaching that the purpose of the Illinois
               24          Brick doctrine is to avoid having to consider how antecedent conspiracies or monopolies affect
                           pricing to consumers. If Campos has any additional meaning, it is because it stands for an
               25          even stronger proposition: even if an upstream monopolist independently “adds fees”—e.g., if
                           Apple here really did impose a separate and direct fee on consumers—plaintiffs are still barred
               26          by Illinois Brick given the antecedent, up-stream transaction. Campos, 140 F.3d at 1169-71.
                           The Court did not need to reach this issue because Plaintiffs had not even alleged the threshold
               27          requirement that Apple had imposed its own “fee on top of the cost of the apps[.]” (Dkt. 108 at
                           19-20.) That remains the case.
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                   1   rule that ignores the substance of any pass-through and focuses entirely on collection mechanics.

                   2   It is because Plaintiffs are unable to allege that iPhone consumers were forced to pay Apple a

                   3   30% fee that Apple separately and independently placed “on top of” the price set by the App

                   4   developer. Plaintiffs have admitted this is a pass-through case previously, they still admit it is,

                   5   and they still cannot state unambiguously that Apple itself adds anything to developers’ App

                   6   prices. That is the end of the matter.

                   7          First, Plaintiffs cannot bury their earlier allegations admitting there is no added fee, and

                   8   the Court should consider them in assessing Plaintiffs’ new claims and ever evolving story. The

                   9   “amendment of a pleading does not make it any the less an admission of the party.” Robinson v.

               10      Salazar, 885 F. Supp. 2d 1002, 1024 n.12 (E.D. Cal. 2012) (quoting Andrews v. Metro N.

               11      Commuter R.R. Co., 882 F.2d 705, 707 (2d Cir. 1989)). While a pleading may indeed be

               12      “superseded” by a later pleading, the original pleading remains “admissible. . . as an admission

               13      or prior inconsistent statement” that a court may consider on a motion to dismiss. (Id.; see also

               14      Mot., Dkt. 115, at 8-9.)

               15             Plaintiffs call this principle “frivolous,” without citing to a single contrary case. (Opp. at

               16      11.) Indeed, Plaintiffs’ own authority recognizes that “courts may, and have, looked to a

               17      plaintiff’s prior allegations when deciding whether the plaintiff’s operative allegations suggest []

               18      plausible claims[.]” State Nat’l Ins. Co. v. Khatri, 2013 U.S. Dist. LEXIS 132167, at *20-21

               19      (N.D. Cal. Sept. 13, 2013); see also Fasugbe v. Willms, 2011 U.S. Dist. LEXIS 56569, at *13

               20      (E.D. Cal. May 25, 2011) (a “court may properly consider the plausibility of the [amended

               21      pleading] in light of the prior allegations”). Plaintiffs’ citation to PAE Gov’t Servs., Inc. v. MPRI,

               22      Inc., 514 F.3d 856 (9th Cir 2007), is a mystery. The Ninth Circuit held only that a district court

               23      may not, absent a showing of bad faith, strike a pleading due to inconsistent allegations. Id. at

               24      860. But neither PAE Gov’t Servs. nor any other case cited by Plaintiffs requires that this Court

               25      ignore Plaintiffs’ previous allegations, or presume the truth of Plaintiffs’ new inconsistent

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                   1   allegations.3

                   2            Plaintiffs First Amended Complaint alleged—correctly—that “Apple collects 30% of the

                   3   sale of each application, with the developer receiving the remaining 70%.” (Dkt. 81 ¶ 5.) Faced

                   4   with the Illinois Brick wall, Plaintiffs backtracked, trying to create the impression without

                   5   actually saying that Apple itself added a separate fee on top of the developer’s price. But the

                   6   Court recognized that “[t]he allegations in the Amended Complaint contradict the arguments

                   7   [Plaintiffs] made in opposition to Apple’s Motion.” (Dkt. 108 at 19, emphasis added.) These

                   8   earlier allegations do not disappear now that Plaintiffs have filed the SAC.

                   9            Second, Plaintiffs’ assertions that they have pled the requisite facts requested by the

               10      Court—and that Apple has “cherry-picked” allegations—are meritless. The changes Plaintiffs

               11      made in the SAC with respect to Illinois Brick avoid the key issue. We are here now because

               12      months ago, Plaintiffs told the Court that their earlier complaint alleged that “iPhone consumers

               13      were forced to pay Apple a 30% fee on top of the cost for the apps.” (Dkt. 99 at 11, emphasis in

               14      original.) The Court correctly found Plaintiffs’ claim to be false, but gave Plaintiffs leave to

               15      amend to actually include that allegation. (Dkt. 108 at 19-20.) They have not done so—because

               16      they can’t, at least not truthfully. Their claim that the SAC says essentially the same thing, albeit

               17      in a “technical, less colloquial way” (Opp. at 7), is wrong.

               18               Plaintiffs claim that the following allegation means “precisely the same thing” as the

               19      missing allegation:

               20                       the prices for apps available in Apple’s App Store include the
                                        developers’ price plus Apple’s 30% mark-up
               21

               22      (Opp. at 7; SAC ¶ 41.) Not so. It begs the key question, which is how Apple’s supposed “mark-

               23      up” is included in the cost of the App. If it is “included” through pass-through dynamics,

               24      Plaintiffs do not have standing. If it is “included” because Apple adds it to the developer’s price,

               25
                       3
                           Plaintiffs also state that the cases relied on by Apple have been overruled. (Opp. at 11.)
               26          Plaintiffs, however, do not cite any authority in support of this assertion. To the extent they
                           intend to rely on PAE Gov’t Servs., that case is not only inapposite, but all of the cases cited by
               27          Apple were decided after the PAE decision, are consistent with that case’s holding, and remain
                           valid authority.
               28
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                   1   then and only then is there any basis to argue that “[t]he intricacies of tracing the effect of [the

                   2   alleged] overcharge” to developers on the prices to Plaintiffs can be avoided. Illinois Brick, 431

                   3   U.S. at 744. But instead what we have is a purposefully vague and ambiguous statement meant

                   4   to conceal who exactly is charging the consumer “Apple’s 30% mark-up”— the App developer,

                   5   via a pass-through, or Apple. The only thing that might matter remains un-alleged.

                   6          The obfuscation is particularly troubling when the allegation is viewed in context. Here

                   7   is the full paragraph of the SAC from which the allegation is drawn:

                   8                  Consequently, the prices for apps available in Apple’s App
                                      Store include the developers’ price plus Apple’s 30% mark-up.
                   9                  When an iPhone customer buys an app from Apple, it pays the
               10                     full purchase price, including Apple’s 30% commission, directly
                                      to Apple. Apple takes its 30% commission off the top and then
               11                     remits the balance, or 70% of the purchase price, to the
                                      developer. Apple sells the apps (or, more recently, licenses for
               12                     the apps) directly to the customer, collects the entire purchase
                                      price, and pays the developers after the sale. The developers at
               13                     no time directly sell the apps or licenses to iPhone customers or
                                      collect payments from the customers.
               14

               15      (SAC ¶ 41.) The full paragraph makes clear that Plaintiffs are doing exactly what they did in the

               16      last round of briefing: claiming that an allegation says Apple is directly charging the consumers

               17      an independent additional fee by citing a statement that actually makes clear that Plaintiffs are

               18      complaining about Apple’s restrictions on developers, who pay Apple its 30% commission, and

               19      then (ostensibly) pass through that fee to consumers.

               20             The additional allegations Plaintiffs point to fare no better. Every one—“extra 30% for

               21      every app,” “Apple’s inflated 30% marked-up price,” “Apple’s 30% fee,” “Apple’s 30% mark-

               22      up”—uses labels and conclusions that entirely skirt the key point. Again, there is not a single,

               23      simple declarative sentence that Apple takes a price that has been established by the developer

               24      and adds 30% (or anything) to that which it then charges customers. And these intentionally

               25      vague and conclusory allegations are particularly insufficient given the Court’s express direction

               26      to Plaintiffs to explain how the 30% fee is paid by consumers.

               27             Third, Plaintiffs do not even try to explain away the allegations in the SAC that admit the

               28      key facts—and they continue to further admit the key facts themselves in their Opposition brief.
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                   1   As noted in Apple’s motion, the SAC itself contains more allegations that reveal the truth. The

                   2   SAC admits that “Apple takes its 30% commission off the top and then remits the balance, or

                   3   70% of the purchase price, to the developer,” (¶ 41) and further alleges that “Apple always

                   4   conditioned its ‘approval’ of such apps on the third party’s agreement to give Apple a share of

                   5   the third party’s sales proceeds.” (Id. ¶ 32, emphasis added.) These allegations show that

                   6   Apple’s allegedly wrongful conduct acts on developers, and that any effects on consumers are by

                   7   definition indirect effects barred by Illinois Brick.

                   8          Were more needed to show that Plaintiffs have not sufficiently pled their claims,

                   9   Plaintiffs include the following description of the SAC’s allegations in their Opposition brief:

               10                  “Taken collectively, these allegations plainly state that in a competitive
                                   market, apps developers could have sold their own apps to Plaintiffs
               11                  without adding on the 30% fee that Apple forced plaintiffs to pay in
                                   its monopolized aftermarket.” (Opp. at 8, emphasis added.)
               12                  “[I]n ‘a competitive apps distribution environment,’ developers would
                                   be able to sell their own apps directly to consumers ‘without charging
               13                  Apple’s 30% mark-up’….” (Id., citing SAC ¶ 48, emphasis added.)
               14      This, of course, is exactly the point: it is the App developers that decide whether to include

               15      some, none, or all of Apple’s 30% commission in the price they set for their Apps. Whether or

               16      not Plaintiffs are correct in believing that App developers would not include Apple’s 30%

               17      commission in the price they set for Apps if there were distribution outlets other than the App

               18      Store, any consumer “harm” results from those App developer decisions. What is crystal clear,

               19      from Plaintiffs’ own allegations, is that Plaintiffs are consumers of Apps complaining about

               20      restrictions on App developers that allegedly indirectly affect the prices set by those developers.

               21      Plaintiffs’ claims are thus barred by Illinois Brick and should be dismissed with prejudice.

               22      III. PLAINTIFFS DO NOT PLEAD A COGNIZABLE PRODUCT MARKET
               23             A.      Plaintiffs Do Not—And Cannot—Allege That Consumers Could Not
                                      Reasonably Discover Apple’s “Closed” iOS System
               24

               25             Plaintiffs assert that “Newcal ... held that a plaintiff who alleges it did not knowingly

               26      enter into the functional equivalent of a contract states a valid aftermarket claim.” (Opp. at 19.)

               27      Plaintiffs misstate the law. Neither Kodak, Newcal, nor any other case holds that an aftermarket

               28      is created if a seller fails to obtain consumers’ contractual consent, or the functional equivalent of
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                   1   contractual consent, to its aftermarket policies. Instead, Newcal distinguishes between cases in

                   2   which a franchisee, for instance, has agreed to aftermarket policies in a contract (the “Queen City

                   3   Pizza category”) as opposed to situations where there is no contract and any aftermarket power is

                   4   economically created (the “Eastman Kodak category”). Newcal Indus., Inc. v. IKON Office

                   5   Solution, 513 F.3d 1038, 1048-49 (9th Cir. 2008). If there is no contract, then the Kodak

                   6   analysis applies and a plaintiff may establish an aftermarket by alleging certain market

                   7   conditions. See id. at 1048. One of these (referred to in Kodak as “information costs”) concerns

                   8   whether consumers should have understood what they were getting into when committing to a

                   9   product like the Kodak copier or the iPhone. See id. The rule has developed that an aftermarket

               10      can only be the relevant market if the plaintiffs could not “reasonably discover” the challenged

               11      aftermarket policies. Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 473-75

               12      (1992); Newcal, 513 F.3d at 1048, 1050; PSI Repair Servs., Inc. v. Honeywell, Inc., 104 F.3d

               13      811, 820 (6th Cir. 1997); Digital Equip. Corp. v. Uniq Digital Techs., Inc., 73 F.3d 756, 763 (7th

               14      Cir. 1996). The critical question is whether a plaintiff can plead and then show that “they are

               15      ‘ignorant’ in the sense that they could not reasonably anticipate later ‘exploitation’[.]” Universal

               16      Avionics Sys. Corp. v. Rockwell Int’l Corp., 184 F. Supp. 2d 947, 956 (D. Ariz. 2001), aff’d, 52

               17      F. App’x 897 (9th Cir. 2002).4

               18               The complaint in Newcal alleged a cognizable aftermarket because it alleged “market

               19      imperfections, as well as IKON’s fraud and deceit” that “prevent[ed] consumers from realizing

               20      that their choice in the initial market [would] impact their freedom to shop in the aftermarket.”

               21      Newcal, 513 F.3d at 1050. As the Ninth Circuit explained,

               22                   [j]ust as the plaintiffs had in Eastman Kodak, Newcal offers factual
                                    allegations to rebut the economic presumption that IKON consumers
               23                   make a knowing choice to restrict their aftermarket options when they
                       4
               24          This standard does not require that consumers be provided with “perfect information” about
                           the manufacturer’s aftermarket policies. SMS Sys. Maint. Servs., Inc. v. Digital Equip. Corp.,
               25          188 F.3d 11, 19 n.3 (1st Cir. 1999); see also Harrison Aire, Inc. v. Aerostar Int’l, Inc., 423
                           F.3d 374, 382 (3d Cir. 2005) (“Perfect information is not required for the primary market to
               26          check the aftermarket.”); Universal Avionics, 184 F. Supp. 2d at 956 (“very imperfect
                           knowledge” is sufficient). “[I]gnorance should be measured by an objective test requiring
               27          proof that aftermarket prices were simply not available in the relevant literature[.]” Areeda &
                           Hovenkamp, Fundamentals of Antitrust Law, at § 5.12b.
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                   1                decide in the initial (competitive) market to enter an IKON contract.
                                    Competition in the initial market, therefore, does not necessarily
                   2                suffice to discipline anticompetitive practices in the aftermarket.

                   3   Id.5 In other words, the plaintiff in Newcal pleaded evidentiary facts plausibly suggesting that
                   4   consumers could not reasonably discover IKON’s challenged aftermarket policies.
                   5            The Complaint here does not offer factual allegations that consumers were ignorant of the
                   6   allegedly “closed” nature of the iPhone ecosystem—and the Complaint does not, accordingly,
                   7   rebut the economic presumption that consumers made a knowing choice to restrict their
                   8   aftermarket options. Plaintiffs’ allegations are expressly based on their flawed theory that
                   9   contractual consent is required. In other words, Plaintiffs repeatedly allege (and assert in their
               10      Opposition) that a distinct aftermarket for software applications for the iPhone was created the
               11      moment Apple began selling iPhones because Apple did not obtain consumers’ “contractual
               12      consent” to its “closed system.” (See, e.g., SAC ¶¶ 14, 43, 44, 65, 71, 76; see also Opp. at 13-
               13      14.) It is thus not surprising that Plaintiffs do not allege what they must: that iPhone purchasers
               14      could not “reasonably discover” Apple’s allegedly “closed” system.6
               15               Nor could they, consistent with Rule 11. Plaintiffs allege that App developers were
               16      informed of both Apple’s 30% commission and that “developers’ apps cannot be sold anywhere
               17      except in the App Store.” (SAC ¶ 40.) That alone means that hundreds of thousands of people
               18      knew of Apple’s policies, the vast majority of whom are likely class members. The policies are
               19      also self-revealing because they in fact limit the availability of iOS Apps, which people would
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               21          Plaintiffs assert that Apple “ignores a fundamental principle for defining a relevant market in
                           an aftermarket monopolization case – that the existence of competition or market power in the
               22          primary product market (here, the smartphone market) is irrelevant.” (Opp. at 16.) Plaintiffs
                           are again wrong, as the quote from Newcal above makes abundantly clear. An aftermarket can
               23          only exist if “the existence of significant information and switching costs” causes the
                           aftermarket to become disassociated from a primary market. Kodak, 504 U.S. at 473.
               24
                       6
                           Plaintiffs’ reliance on paragraph 65’s conclusory assertion that consumers could not inform
               25          themselves of iPhone “lifecycle costs” (Opp. at 20) is insufficient for multiple reasons. First,
                           that paragraph clearly alleges that consumers supposedly could not inform themselves of
               26          lifecycle costs because Apple did not obtain “contractual consent,” which is irrelevant. Second
                           and most importantly, Plaintiffs’ theory challenges the allegedly “closed system” itself and
               27          Plaintiffs rote recitation of legalese regarding lifecycle costs says nothing about whether
                           consumers could reasonably discover the “closed” system.
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                   1   notice. Had they been candid, Plaintiffs would have also acknowledged that Apple’s App

                   2   policies (including that downloadable Apps would only be available in the App Store and that

                   3   Apple would earn a 30% commission on paid downloaded Apps) were announced via press

                   4   release before the App Store even opened. This is altogether different than Newcal, where in

                   5   addition to the structural “market imperfections” required for an aftermarket, the plaintiffs

                   6   alleged “fraud and deceit” that prevented consumers from discovering the defendant’s policies.7

                   7   513 F.3d at 1050. Nothing like that is found here.

                   8            Although they claim otherwise (Opp. at 20), Plaintiffs bear the burden of alleging a

                   9   relevant market and must provide “factual allegations” that rebut the “presumption” that when

               10      they purchased their iPhones in the competitive market, they made “a knowing choice to restrict

               11      their aftermarket options[.]” Id.; see also POURfect Prods. v. KitchenAid, 2010 U.S. Dist.

               12      LEXIS 42890, at *10 (D. Ariz. May 3, 2010) (dismissing aftermarket claim where plaintiff had

               13      “not plausibly alleged facts” that supported the existence of “[h]igh information costs” necessary

               14      for stating a viable aftermarket claim). Plaintiffs’ failure to do so means that the alleged

               15      aftermarket of software applications for the iPhone is not a relevant antitrust market. Newcal,

               16      513 F.3d at 1048-49.

               17               B.      Plaintiffs’ Product Market Fails As A Matter Of Law

               18               Apple’s motion to dismiss asserted that a product market of all software applications for

               19      the iPhone is “overbroad” and “amorphous,” and fails as a matter of law. (Mot. at 13, n.7, citing

               20      Universal Grading Serv. v. eBay, Inc., 2012 U.S. Dist. LEXIS 2325, at *18-19 (N.D. Cal. Jan. 9,

               21      2012).) Apple’s motion also noted that distribution services are a distinct product from software

               22      applications and cannot be part of the same product market. (Id., citing Apple Inc. v. Psystar

               23      Corp., 586 F. Supp. 2d 1190, 1196 (N.D. Cal. 2008).) Plaintiffs’ Opposition does not mention

               24

               25
                       7
                           It is notable that Plaintiffs also do not allege any post-purchase “change in policy” by Apple to
               26          exploit its “locked-in” installed base—a crucial feature and requirement of Kodak and other
                           aftermarket cases. Kodak, 504 U.S. at 476; PSI Repair Servs., Inc. v. Honeywell, Inc., 104
               27          F.3d 811, 820 (6th Cir. 1997) (“the change in policy in Kodak was the crucial factor in the
                           Court’s decision”).
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                   1   either case and instead asserts, in conclusory fashion, that their product market definition is

                   2   plausible because it is the “commercial reality” faced by consumers. (Opp. at 20 n.8.)

                   3            Plaintiffs are incorrect. Image Tech. Servs., Inc. v. Eastman Kodak Co., the sole case

                   4   upon which Plaintiffs rely, held that a market for all service parts for Kodak copiers existed

                   5   because the plaintiff service providers needed access to “all parts” in order to fulfill service

                   6   contracts and compete with Kodak. 125 F.3d 1195, 1205 (9th Cir. 1997). Plaintiffs here allege

                   7   no facts that suggest that anyone needs access to all Apps to fulfill service contracts—or even to

                   8   have their iPhones function properly. If Plaintiffs’ “commercial realities” argument applied

                   9   outside the specific context of service providers who need to fulfill service contracts, then a

               10      plaintiff could allege a product market for all products sold by eBay (or Safeway or Costco). But

               11      that is not the law as Universal Grading and other cases make clear.

               12               At bottom, there are no allegations that the Apps mentioned in the Complaint—“for

               13      ringtones, instant messaging, Internet access, gaming, entertainment, video and photography”

               14      (SAC ¶ 32)—are substitutes for one another. As a result, Plaintiffs’ claimed market fails as a

               15      matter of law. Universal Grading Serv., 2012 U.S. Dist. LEXIS 2325, at *18-19; POURfect

               16      Prods., 2010 U.S. Dist. LEXIS 42890, at *12 n.1; Golden Gate Pharm. Servs. v. Pfizer, Inc.,

               17      2010 U.S. Dist. LEXIS 47896, at *9 (N.D. Cal. Apr. 16, 2010), aff’d, 433 F. App’x 598 (9th Cir.

               18      2011).

               19      IV. GIVEN THEIR CHALLENGE TO THE “CLOSED” SYSTEM, PLAINTIFFS DO
                           NOT PLEAD ACTIONABLE ANTICOMPETITIVE CONDUCT
               20

               21               As Apple explained in its motion to dismiss, “[t]o safeguard the incentive to innovate, the

               22      possession of monopoly power will not be found unlawful unless it is accompanied by an

               23      element of anticompetitive conduct.” (Mot. at 13, quoting Verizon Commc’ns, Inc. v. Law

               24      Offices of Curtis V. Trinko, 540 U.S. 398, 407 (2004).) The required anticompetitive conduct

               25      must itself harm competition—it is not enough that conduct fails to further competition or aid

               26      competitors. See Allied Orthopedic Appliances Inc. v. Tyco Health Care Group LP, 592 F.3d

               27      991, 1002 (9th Cir. 2010); Greater Rockford Energy & Tech. Corp. v. Shell Oil Co., 790 F. Supp.
               28      804, 821 (C.D. Ill. 1992), aff’d, 998 F.2d 391, 393 (7th Cir. 1993). Plaintiffs’ Opposition
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                   1   contends that Apple’s introduction of a “closed” system itself adequately constitutes

                   2   anticompetitive conduct. (Opp. at 22-25 (citing SAC ¶¶ 43, 71).) It does not.

                   3          Setting their hyperbole aside, the thrust of Plaintiffs’ argument is that antitrust law puts a

                   4   substantive restriction on the kind of business model that a company like Apple can adopt.

                   5   Apple, supposedly, was allowed to create and offer the iPhone to the world only if it relinquished

                   6   control of its copyrighted iOS software and enabled third party distribution outlets. (Opp. at 22-

                   7   23.) Stated differently, Plaintiffs’ theory is that Apple was required to design the iPhone

                   8   ecosystem as “open” in the sense that the copyrighted iPhone iOS should be accessible (for free

                   9   and without any limitations) to any third party developer so that consumers could ultimately have

               10      access to even more than the 850,000 software application programs that Apple’s business model

               11      has made available.

               12             Nothing in the antitrust laws compels such a result. The antitrust laws are not nearly so

               13      regulatory or intrusive into business methods. Plaintiffs’ own case—Free Freehand Corp. v.

               14      Adobe Sys. Inc., 852 F. Supp. 2d 1171, 1183-84 (N.D. Cal. 2012)—makes clear that “[a

               15      manufacturer] has no duty to license its technology to foster competition or to give away its

               16      technology for others to clone.” Neither innovation nor competition are served by requiring a

               17      company to relinquish its intellectual property in order to bring a new product to the market, and

               18      the antitrust laws do not mandate such a result. See Bd. of Trade of Chicago v. United States, 246

               19      U.S. 231, 238 (1918); USM Corp. v. SPS Techs., Inc., 694 F.2d 505, 513 (7th Cir. 1982). That is

               20      precisely why courts are extremely skeptical of any antitrust claim premised on product design,

               21      much less a “revolutionary” new product like the one admittedly at issue here. Tyco, 592 F.3d at

               22      998-1000; see also Doe v. Abbott Labs., 571 F.3d 930, 934 (9th Cir. Cal. 2009) (addressing “price

               23      squeeze” claim; “if a firm has no antitrust duty to deal with its competitors … it certainly has no

               24      duty to deal under terms and conditions that the rivals find commercially advantageous ….

               25      AT&T could have stopped providing DSL transport service without violating § 2, so it was not

               26      required to offer this service at the wholesale prices the plaintiffs would have preferred.” (internal

               27      quotations and citations omitted)).
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                   1          Plaintiffs rely primarily on two cases in contending that Apple’s design of a “closed”

                   2   iPhone ecosystem nonetheless constitutes actionable anticompetitive conduct: Image Technical

                   3   Services, Inc. v. Eastman Kodak Co. and Free Freehand Corporation v. Adobe Systems. Neither

                   4   case stands for the broad propositions Plaintiffs suggest. Image Technical Services involved an

                   5   appeal from the jury verdict on remand after the Supreme Court’s Kodak decision. As noted

                   6   above, the Kodak decision turned largely on the contention that after having first set up the parts

                   7   and service markets as open for all competitors, Kodak reversed course and destroyed a great deal

                   8   of existing competition. As the Ninth Circuit put it, “we are faced with a situation in which a

                   9   monopolist made a conscious choice to change an established pattern of distribution to the

               10      detriment of competitors” and as part of an effort to “control a downstream market.” Image Tech.

               11      Servs., 125 F.3d at 1211. Nothing in Image Technical Services challenged the design of Kodak’s

               12      products, let alone Kodak’s original business model; rather, the anticompetitive conduct was the

               13      change to an existing business model―which harmed existing competition at the expense of

               14      locked-in customers. The case is not remotely analogous to Plaintiffs’ broadside attack on

               15      Apple’s fundamental model.

               16             Free Freehand is similarly far afield and Plaintiffs’ effort to rely on a case applying the

               17      “monopoly broth” theory only confirms their failure to plead actionable anticompetitive conduct.

               18      As alleged in Free Freehand, defendant Adobe acquired Aldus, but was required by a consent

               19      order with the FTC to divest itself of the “Freehand” illustration software—a principal competitor

               20      to Adobe’s Illustrator software. 852 F. Supp. 2d at 1175-77. Almost immediately after the

               21      consent order expired, Adobe purchased the Freehand software it had been forced to divest. Id. at

               22      1175-76. Following that purchase, plaintiffs alleged Adobe raised prices for Illustrator multiple

               23      times, engaged in improper product bundling, refused to provide Freehand’s source code to the

               24      “open source community,” and, despite alleged assurances to the contrary, ceased support and

               25      development for Freehand. Id. at 1176-77. The entire basis for the Free Freehand holding was

               26      this well-pled constellation of facts showing that already-existing competition in the illustration

               27      software market had been harmed by defendant’s series of acts, aimed at diminishing such
               28      existing competition. Id. at 1180. Furthermore, the only allegation in Free Freehand which is
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                   1   arguably analogous to Plaintiffs’ claim—challenging Adobe’s refusal to provide its software to

                   2   the “open source community”—was deemed insufficient, and the court refused to consider it as

                   3   part of the “monopoly broth” of anticompetitive conduct. Id. at 1183-1184.

                   4            In contrast to the conduct at issue in those cases, the only anticompetitive act alleged by

                   5   Plaintiffs was Apple’s design decision to create and enforce what they call a “closed” iPhone iOS.

                   6   Absent from the SAC are any allegations of a change in policy or harm to an established

                   7   competitive market, as in Free Freehand and Image Technical Services. And Plaintiffs point to

                   8   no case holding that a company introducing a new product, such as Apple’s iPhone, has any duty

                   9   to alter its product once launched simply to create a market that Plaintiffs believe would be more

               10      competitive. That is because there is no such obligation under established law.8 Indeed, Tyco and

               11      other cases make clear that even monopolists—which Apple is not—are permitted to innovate and

               12      introduce new products.9 Absent well-pled allegations that Apple engaged in actionable

               13      anticompetitive conduct which lessened competition, Plaintiffs’ claims must be dismissed.

               14      V.       CONCLUSION

               15               For the foregoing reasons, Apple’s Motion to Dismiss should be granted and Plaintiffs’

               16      Second Amended Complaint should be dismissed with prejudice.

               17      Dated: October 22, 2013                            Respectfully submitted,

               18                                                         LATHAM & WATKINS LLP

               19                                                         By        /s/ Daniel M. Wall
                                                                               Daniel M. Wall
               20                                                              Attorneys for Defendant APPLE INC.
               21
                       8
               22          Plaintiffs’ assertion—that the “logical extreme” of Apple’s argument is that “a firm that
                           invents or improves a product has virtually unfettered license to monopolize the aftermarkets
               23          for that product” (Opp. at 24)—is not credible. The appropriate question in such cases is the
                           impact that changes to existing practices have on existing competition, as United States v.
               24          Microsoft Corp., 253 F.3d 34 (D.C. Cir. 2001), makes clear. Plaintiffs allege no changes in
                           Apple’s practices and only challenge the original design of the “closed” iPhone ecosystem.
               25      9
                           See, e.g., Tyco, 592 F.3d at 1002; see also Mot. at 14-16. Moreover, as Apple explained in its
               26          motion, the antitrust laws concern themselves with “negative duties” in order to prevent
                           conduct that lessens existing competition, not “positive duties” that require each company to
               27          actively increase it. (Mot. at 15, citing USM Corp. v. SPS Techs., Inc., 694 F.2d 505, 513 (7th
                           Cir. 1982); Bd. of Trade of Chicago v. United States, 246 U.S. 231, 238 (1918).)
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